
*692OPINION.
James:
Upon the first point of the settlement of the Sherwin-Williams account, it is clear from the statement of facts that a bona fide dispute was in existence between the taxpayer and the Sherwin-Williams Company up to and including the month of August, 1920. *693The dispute involved the validity of charges which the taxpayer had made against the Sherwin-Williams Company and which it believed to be valid and proper charges, and charges which the Sher-win-Williams Company had made against the taxpayer and the Sherwin-Williams Company regarded as valid and proper. In so far as was necessary, the charges carried upon the books of the taxpayer had been properly reflected in its book income and returned in taxable income in the year in which the original transactions occurred. The taxpayer appears to have charged off the account as a bad debt, which it obviously was not, since the Sherwin-Williams Company was a solvent debtor. The parties, after insisting upon their respective views, agreed in 1920 to compromise their differences and the taxpayer agreed as a part of that compromise to accept a loss of $2,481.70. As such it was a loss sustained during that taxable year and properly deductible under section 234 (a) (4) of the Revenue Act of 1918.
Upon the second point there is nothing in the record to justify any finding that the item of $3,095.03 was donations. On the contrary, it appears that the money was actually disbursed by the taxpayer to Oscar L. Peterson as an ordinary and necessary expense of the business. In our opinion the entire amount is properly deductible by the taxpayer.
Upon the third item there appears to be some confusion as to the meaning of the regulations of the Commissioner with respect to inventories at cost, or at cost or market, whichever is the lower, as set forth in articles 1582 to 1585 of the Regulations.
Regulations 45, article 1583, as originally promulgated by the Commissioner, read as follows:
In the case of merchandise purchased, the invoice price less trade or other discounts, except strictly cash discounts, approximating a fair interest rate, which may be deducted or not at the option of the taxpayer, provided a consistent course is followed. To this net invoice price should be added transportation or other necessary charges incurred in acquiring possession of the goods.
It is clear from the foregoing quotation from the Regulations that the expense of $565.36, incurred by the taxpayer in shipping the defective naphtha from Chicago to Kansas after it had been acquired by the taxpayer, did not constitute a cost of the naphtha for inventory purposes at all, but was merely an expense necessitated by its defective condition. Since this expense was incurred during the year in question and added no value to the original cost of the naphtha, it was an ordinary and necessary expense of the year and deductible as such. This result the taxpayer attained by pricing the naphtha at 2 cents, which happened to be its original cost.
The inventory adjustment made by the examining agent should, therefore, be reversed and the expense of $565.36 allowed as a deduction in determining the net income of the taxpayer for the year 1920.
The taxpayer contended that it was entitled to value this item of the inventory at market. With this contention we are unable to agree. Inventories must be taken upon a consistent basis from year to year. Appeal of Thomas Shoe Co., 1 B. T. A. 124. Here, however, the adjustment to a proper basis of cost agrees with the taxpayer’s claimed market value.
